Case 2:11-cv-07098-AB-JPR Document 87 Filed 02/06/12 Page 1 of 2 Page ID #:5218



 1   Eric J. Benink, Esq. (State Bar No. 187434)
     Krause Kalfayan Benink & Slavens, LLP
 2
     550 West C Street, Suite 530
 3   San Diego, California 92101
     eric@kkbs-law.com
 4
     (619) 232-0331
 5   (619) 232-4019
 6
     Attorneys for Plaintiff Perfect 10, Inc.
 7
 8                               UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11   PERFECT 10, INC., a California             CASE NO. 11 CV 7098 AHM (SHx)
12   corporation,

13                 Plaintiff,                   PLAINTIFF PERFECT 10, INC.’S
                                                REQUEST FOR JUDICIAL NOTICE IN
14         v.                                   SUPPORT OF ITS MOTION FOR
15                                              PRELIMINARY INJUNCTION
     GIGANEWS, INC., a Texas
16   corporation; LIVEWIRE SERVICES,
     INC., a Nevada corporation; and DOES DATE:         None
17   1 through 100, inclusive,            TIME:         None
18                Defendants.             CTRM:         14
19                                              JUDGE: A. Howard Matz
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            Request for Judicial Notice                        11 cv 7098 AHM (SHx)
Case 2:11-cv-07098-AB-JPR Document 87 Filed 02/06/12 Page 2 of 2 Page ID #:5219



 1         Plaintiff Perfect 10, Inc. hereby requests, pursuant to Fed. R. Evid., Rule 201(b),
 2   that the Court take judicial notice of the United States Department of Justice’s News
 3   Release issued on January 19, 2012. The News Release is attached hereto as Exhibit 1.
 4
     Dated: February 6, 2012                        KRAUSE KALFAYAN BENINK &
 5
                                                    SLAVENS, LLP.
 6
 7                                                   /s/ Eric Benink
                                                    _______________________________
 8                                                  Eric J. Benink
 9                                                  Attorneys for Plaintiff
                                                    Perfect 10, Inc.
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            Request for Judicial Notice                            11 cv 7098 AHM (SHx)
